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Jeffrey Epstein Flaunted Girls After His Arrest at Frederic
Fekkai’s Hair Salon for the Stars
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                                                                                                             October 7, 2019


Crime & Justice


Epstein Flaunted Girls After His Arrest at Hair Salon for the Stars
IN PLAIN SIGHT

exclusive




Photo Illustration by Lyne Lucien/The Daily Beast/Getty

Even after his jail stint, Jeffrey Epstein frequented his friend Frédéric Fekkai’s high-profile
salons with a bevy of very young women, former stylists say.

Emily Shugerman

Senior Reporter

Updated Oct. 07, 2019 2:45PM ET / Published Oct. 06, 2019 8:54PM ET


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In the years after he registered as a sex offender, millionaire financier Jeffrey Epstein
launched a veritable crusade to rehabilitate his image. The convicted felon donated to
prominent charities, convinced friends to invite him to A-list events, and took to wearing a
Harvard sweatshirt whenever there was a camera around. But among the most important
stops on Epstein’s comeback tour were his regular appointments at hairdresser Frédéric
Fekkai’s high-profile salons.

Multiple former Fekkai employees told The Daily Beast that Epstein regularly brought groups
of young women into the New York salon after his conviction, where he paid for their services
and had them sit on his lap and stroke his hair. When he was in Florida, former employees
said, Epstein would have Fekkai stylists make house calls to his Palm Beach estate.

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Unbeknownst to them, Fekkai’s brand had received an influx of cash years earlier from a
company backed by L Brands—the same retailer owned by Epstein’s only known client, Les
Wexner.

A spokesperson for Frederic Fekkai brands said the company had been sold by the time of
Epstein’s conviction in 2008, and that Fekkai was not involved in the salons at the time.

“Neither he, nor the current management team, had
any knowledge of the incidents described and, in Mr.
Fekkai’s limited acquaintance with Mr. Epstein, he
never witnessed any of the deplorable conduct that
led to Mr. Epstein’s conviction,” the spokesperson
said.

Two decades ago, Epstein would have been almost
indistinguishable from the dozens of celebrity clients
who flocked to Fekkai’s Upper East Side salon. Fekkai, a charismatic coiffeur known for his
boyish good looks, opened his first salon in 1988 and rose quickly from unknown French
hairdresser to stylist to the stars. He styled celebrities like Demi Moore, Jodie Foster, and
Meryl Streep for the red carpet, and was credited with giving Hillary Clinton her signature
short, layered ‘do.

A 2005 New York Times article listed cuts at Fekkai’s salon—which could run up to $750
apiece—as one of many upsides for Epstein’s personal assistants. “In addition to the rich
payday, he also ladles on the perks,” the article said of the financier. “He maintains a charge
account at Frédéric Fekkai, the society hair dresser, for their unlimited use and pays for all
food eaten during his lengthy business hours, including takeout from Le Cirque.”




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But Fekkai and Epstein appeared to be closer than just stylist and client. The financier had 16
numbers for Fekkai in his black book of contacts, including the hairdresser’s home number,
his French cellphone, and a number for his assistant. Flight logs show Fekkai flew on
Epstein’s private plane at least twice, in 2000 and 2002, along with Epstein’s alleged madam
Ghislaine Maxwell and his shady model scout pal Jean-Luc Brunel.

Simone Banos, a longtime friend of Fekkai, told The Daily Beast that Epstein and Fekkai ran
in similar New York social circles, but said she couldn’t imagine the hairdresser staying
friends with Epstein after he was convicted of soliciting a minor for prostitution and accused
by dozens more of sexual assault.

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A spokesperson for Fekkai said the hairdresser had “a very limited acquaintance with
Epstein, who was known to aggressively cultivate celebrities. He was not Epstein’s friend or
his stylist.”

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“Frederic is disgusted and sickened by Epstein’s activities, which no one was aware of in
2000 and 2002, when Frederic accepted a ride on his jet,” the spokesperson said. “Had he
been aware, he would never have boarded that plane, let alone with his 5-year old son, his
son’s nanny and his girlfriend at the time.”

But four former Fekkai employees said Epstein remained a regular at the salon, even after his
2008 conviction. Three of these employees recalled Epstein bringing a rotating cast of tall,
beautiful, and suspiciously young-looking women with him for monthly appointments. (The
fourth employee remembered Epstein bringing women in with him, but could not recall
details of their interactions.)

The financier paid for the women’s haircuts and dye jobs from his house account, the
employees said, and either he or a female associate dictated exactly how their hair was styled.
In between services, the women sat on Epstein’s lap or stroked his hair—in full view of the
hundreds of guests at Fekkai’s 9,000-square-foot hair emporium. “It was very out in the
open,” one former employee said. “Everyone knew."

“He didn’t give an eff,” another former employee said. “He was coming in like he was running
the show. He didn’t care.”

He didn’t give an eff. He was coming in like he was running the show. He didn’t care.

Several of the former employees told The Daily Beast they asked not to work with Epstein or
the women he brought in after his conviction. But they also said they did not want to
complain too much, because it was clear Epstein was friendly with Fekkai, and because they
could not tell if something illegal was going on.


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“The thing is, we could never tell how old the girls were,” one
former employee said. “They came in heels, makeup… They
were all way too young for him, but legal? You didn’t always
know.”

“But he was a pig no matter what,” the employee added.

In Palm Beach, the ritzy vacation town where Epstein was
first charged, Fekkai employees said stylists made regular
house calls to the financier—in the same $2.5 million estate
where he spent his yearlong house arrest. One stylist said he
was first introduced to Epstein by Fekkai himself, at the New
York salon, and started cutting Epstein’s hair at his Palm
Beach home in 2012. Three current and former co-workers
confirmed that they had heard the stylist talk about these
trips.

The stylist said he often spoke with Sarah Kellen and Lesley
Groff—two of Epstein’s assistants who have been accused of
recruiting girls for his sexual massages—but never saw
anything that aroused his suspicions. (An attorney for Groff
said she never engaged in any misconduct during her employment with Epstein.)

“Any girls that I saw that were there, I always found them very educated... Very smart, very
articulate,” he told The Daily Beast. “When I was there for the hour, hour and a half, he was a
gentleman.”

A Fekkai Brands spokesperson said the company completed an exhaustive review of its
records and found no receipts for house calls to Epstein’s residences.

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“If a stylist did make a house call to one of his homes, he or she did not do so as an employee
of the company,” the spokesperson said.

Any girls that I saw that were there, I always found them very educated ... Very smart, very
articulate.

What the stylists did not know was the extent of their company's financial relationship with
Les Wexner—Epstein’s only known client. Wexner is the CEO of L Brands, which owns
brands like Victoria's Secret and Bath & Body Works and had an agreement to run upmarket




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stores under the C. O. Bigelow name. He first hired Epstein
as his personal financial adviser, but eventually handed over
an uncommon amount of money and power to the relatively
unknown money man.

Among other things, Wexner gave Epstein full power of
attorney, and reportedly donated more than $10 million to
Epstein’s charity through his personal foundation. Several of
Epstein’s accusers have claimed the financier posed as a
Victoria’s Secret talent scout in order to lure them into hotel
rooms and assault them. (Wexner claims he had no personal
knowledge of Epstein’s impropriety, and cut ties with him in
2007 when the allegations against him emerged.)

Fekkai first entered Wexner’s orbit in 2004, when Bath &
Body Works and C.O. Bigelow began selling his line of home
haircare products, which had until then been sold only in
high-end retailers like Neiman Marcus. One former Fekkai
executive told The Daily Beast that she advised against the
deal, thinking it would diminish the brand’s status, but that
Fekkai was set on it.

“It wouldn’t have happened if Frédéric wasn’t behind it, and of that I’m certain,” the
executive said.

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The following year, private equity company Catterton Partners issued a celebratory press
release announcing it had taken a majority stake in Frederic Fekkai, Inc. What the press
release did not mention was that Catterton was backed, in part, by L Brands. In fact, both the
L Brands executive and a former Fekkai executive said Wexner had considered buying the
hair products company outright.

“L Brands did not have a direct investment but did participate in a private equity fund which
had stakes in a number of companies, including a controlling interest in Fekkai,” a
spokesperson for Fekkai Brands told The Daily Beast.

L Brands never wound up buying Fekkai’s company. Instead, the company was purchased in
2005 by Procter & Gamble for a reported $440 million. The company—known for producing
drugstore standbys like Pantene and Herbal Essences—tried and failed to introduce Fekkai’s
product line to a mass-market audience, dropping its price point as well as its prestige.




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P&G eventually sold the company to Designer Parfums and Luxe Brands at an estimated
$390 million loss. A lawsuit filed by Fekkai employees this year claimed Luxe Brands had
mismanaged the company and degraded the brand, turning its flagship location into a “mall
salon” that “does not offer the same luxurious environment that the clients had grown
accustomed to.”

“Fekkai's three changes of ownership in ten years, and two changes of ownership in only
three years, among other things, have made it difficult for Plaintiffs to feel comfortable
having a long-term future at Fekkai,” the plaintiffs wrote. (The lawsuit was settled out of
court.)

Last winter, Fekkai bought his company back from Designer Parfums and Luxe Brands for an
undisclosed sum—something he had reportedly been hoping to do for some time. In an
interview with Women’s Wear Daily, Fekkai said he was eager to be in the driver’s seat, and
expand his brand internationally and online.

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"The brand needs a leader," he said, "someone who knows what they're doing, who the team
can respect.”




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Opinion


Trump Lawyer’s Shameful Cross-Examination of E. Jean Carroll

NOT A GOOD LOOK




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Thursday’s showing by Trump lawyer Joe Tacopina may have been the most tone-deaf cross-
examination in a rape trial since “To Kill A Mockingbird.”

opinion




Photo Illustration by Thomas Levinson/The Daily Beast/Reuters/Getty

On Thursday, Joe Tacopina, lead counsel for Donald Trump, cross-examined E. Jean Carroll
after she testified that Donald Trump raped her in the 1990s.

During his moment in the spotlight, Tacopina was derisive, derogatory and dismissive. This
may have been the most tone-deaf cross-examination in a rape trial since To Kill A
Mockingbird.

The fireworks started from the first moment, when Tacopina started, “Good morning, Ms.
Carroll.” She did not respond in kind, but instead remained silent—which was appropriate, as
there was not question pending. Mr. Tacopina, visibly perturbed, raised his voice and
repeated, “Good morning, Ms. Carroll!” At that point, she finally responded, “Good
morning.”

It went downhill from there.

When Tacopina insinuated that Ms. Carroll only had a “story” that she was raped by Donald
Trump, she gave no ground.



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Q: Now, that is the book in which you included the story about your supposedly being raped
by Donald Trump in a Bergdorf Goodman changing room, right?

A: Not supposedly. I was raped.

When Mr. Tacopina again tried to make her retreat, she stood firm.

Q: That’s your version, right, Ms. Carroll, that you were raped.

A: Those are the facts.

Tacopina then belittled Ms. Carroll’s testimony that
she did not come forward before Trump’s election
because she was caring for her dying mother.

Q: So yesterday when you testified that you didn’t
want to come forward at this point, even though he
was running for president and you claimed he had
raped you, you didn’t want to do that because one of
the reasons you said was your mother was dying,
correct?

A: She was on her deathbed. My sisters and brother and I had joined her at the end of
September to spend our last weeks together.

Q: And ultimately your mother unfortunately passed away in October of 2016, right?

A: Yes.

...

Q: And that's a month before the election took place, more or less, correct?

A: Yes.

Q: So why didn’t you come out with the story after your mother passed away before he was
elected?

A: I was in deep, incredible, painful mourning.

Q: How old was your mother when she passed?

A: 97. She would have been 98.

Q: This had nothing to do with the fact that the book wasn’t ready yet, did it, Ms. Carroll,
the reason you didn’t come out at that point?


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A: I hadn’t conceived of writing a book at that point.

The jurors almost certainly heard that exchange as Tacopina stating that Ms. Carroll’s claim
to be “in deep, incredible, painful mourning” had to be a lie, because no one could be
surprised by the death of a 97-year-old woman. If Tacopina did not already have a juror on
his side, that question would almost certainly turn that juror against him.

Tacopina’s ‘Gotcha’ Moment Fell Flat
After belittling Ms. Carroll’s grief, Tacopina then went in for the kill, using a text exchange
between Carroll and Carol Martin (who is set to testify on behalf of Ms. Carroll) to show that
they had a “scheme” to get Trump.

Carroll explained that in the text, “As soon as we are both well enough to scheme, we must do
our patriotic duty again,” the word “scheme” was “a typical word that Carol and I use,
carrying no connotations of evil. It’s just a word that we use.”

Tacopina lost control of this line of questioning when he asked how Ms. Carroll could fail to
remember that email, but could remember her conversation with Ms. Martin 28 years earlier.

Carroll responded, devastatingly: “I told Carol Martin what Trump did to me in the dressing
room. Those are facts that I could never forget. This is an e-mail, among probably hundreds
of e-mails between Carol and I, that I have no recollection of, but I suspect it’s something
funny.”

Tacopina later attacked Carroll’s trustworthiness based upon her testimony that she laughed,
but did not scream, when Donald Trump started to rape her. It did not go well for him.

Q: In fact, in response to this supposedly serious situation that you viewed as a fight, where
you got physically hurt, it’s your story that you not only didn’t scream out, but you started
laughing?

A: I did not scream. I started laughing. That is right. I don’t think I started laughing. I think
I was laughing going into the dressing room, and I think I laughed pretty consistently after
the kiss to absolutely throw cold water on anything he thought was about to happen.
Laughing is a very good—I use the word weapon—to calm a man down if he has any erotic
intention.




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Former Elle magazine advice columnist E. Jean Carroll answers questions from lawyer Joe
Tacopina during a civil trial to decide whether former U.S. President Donald Trump raped
Carroll in a Bergdorf Goodman department store dressing room in the mid-1990s.



Reuters/Jane Rosenberg

Undeterred, Tacopina doubled down on his attack.

Q: When you’re fighting and being sexually assaulted and raped, because you are not a
screamer, as you describe it, you wouldn’t scream?

A: I’m not a screamer. You can’t beat up on me for not screaming.

Finally, Tacopina stated flatly that Carroll did not have a “story” for why she did not scream
until after she spoke with a psychiatrist, Dr. Lebowitz (who will provide expert testimony in
the case).




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Carroll then exploded with indignation: “I wasn’t coming up with a story. It’s usually—I
would say more than usually—under discussion when a woman is raped and she doesn’t
scream. It’s usually discussed, why didn’t she scream, E. Jean? Why didn’t you scream? It’s
what a woman—you better have a good excuse why you didn’t scream. Because if you didn’t
scream, you weren’t raped. I’m telling you, he raped me, whether I screamed or not.”

It was as if Mr. Tacopina had learned nothing from the public response to The Accused,
which won five Oscars in 1988.

Tacopina, with nothing to back his questions up, also expressed incredulity at Ms. Carroll’s
testimony that she had parried Trump’s suggestion that she try on the lingerie by suggesting
that he, instead, try it on. The exchange did not go as he expected:

A: I had written a similar scene on Saturday Night Live and got nominated for an Emmy for
the very thing of a man getting dressed in front of a mirror. The idea was, to me, hilarious.

Q: You wrote a scene for Saturday Night Live about a man putting on lingerie over a suit?

A: About a man getting dressed in the bathroom, and he was wearing his underwear.

Q: Over his suit?

A: No. It was just a man in his bathroom falling in love with himself in front of the mirror.

Q: To you that’s a similar scene as Donald Trump, in the middle of Bergdorf Goodman, with
his suit on, trying on a piece of women’s lingerie?

A: That’s how my mind works. That’s how comedy is born. You take two opposite things,
you put them together, and it makes a new scene. That’s where comedy comes from.

Q: Did that ever air on Saturday Night Live?

A: Yes.

Q: When was that?

A; 1987, William Shatner played the role.

As a trial attorney, I am astonished that Mr. Tacopina went down this road, without knowing
that Ms. Carroll was, in fact, nominated for an Emmy for writing that sketch.

As I wrote yesterday, I do not know whether the jurors believed Carroll’s direct testimony
that she was raped by Trump. Based on my 25+ years as a trial attorney, including service as
an Assistant United States Attorney who focused on sex crimes, I am confident that any juror
who did not already believe that Ms. Carroll lied in her direct testimony would not have been
persuaded by any of the cross-examination that she was a liar.


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In fact, it appeared that Tacopina—who is a very capable trial attorney—had an agenda that
valued being mean to Ms. Carroll over undercutting her credibility. I would not be surprised
if that was a direct order from Donald Trump.




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